Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 1 of 12 PageID# 280




                               UNITED STATES DISTRICT COURT                   r.
                          FOR THE EASTERN DISTRICT OF VIRGINIA j
                                        Alexandria Division                   1 r-^ j
                                                                                                            nj
                                                                              li        NOV I 4 2018
 ANISH KAPOOR,                                                                , CLERK,_ L^?. ,,-sTr^:rr court
                Plaintiff,

                          V.                          Civil ActionNo. I:I8-cv-I320(LMB/TCB)

 NATIONAL RIFLE ASSOCIATION OF
 AMERICA,


                Defendant.



                               RULE 16(B^ SCHEDULING ORDER


         Upon consideration of the representations made by the parties in the Joint Discovery Plan

 (Dkt. 63), and by counsel for the parties at the initial pretrial conference held on November 14,

 2018, and taking note of the Scheduling Order (Dkt. 44) entered in this case, the Court makes

 the following rulings:

         1.     All discovery shall be concluded by Friday, March 15, 2019.

         2.     The Joint Discovery Plan, as modified by the Court, is approved and shall control

 discovery to the extent of its application unless further modified by the Court.

         3.     All Fed. R. Civ. P. 26(a)(1) disclosures shall be completed by November 16,

 2018.


         4.     No "general objection" may be asserted in response to any discovery demand

 except to preserve the attorney-client privilege and work product protection.

         5.     Expert disclosures shall be governed by the schedule set forth in paragraph 4 of

 the Joint Discovery Plan. To the extent the parties wish to modify these deadlines, they must

 seek leave of court.
Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 2 of 12 PageID# 281




        6.      If counsel believe that a settlement conference with the Court would be of

 assistance in resolving this dispute, they may arrange a settlement conference by contacting the

 undersigned magistrate judge's chambers.

        7.      To the extent they have not already done so, counsel shall inform their clients of

 their obligations regarding the preservation of discoverable information.

        8.      To the extent any party intends to assert a claim of privilege or protection as to

 trial preparation material, any such claim must be made in a timely manner and in accordance

 with Fed. R. Civ. P. 26(b)(5).

        9.      To the extent it becomes necessary, counsel may submit an agreed protective

 order concerning the disclosure ofinformation between the parties in discovery, provided that

 such protective order does not provide for the prospective filing of documents under seal.

        10.     The following provisions shall apply to the filing and noticing of all motions:

        (a)     All motions must contain a statement that a good-faith effort to narrow the area of

 disagreement has been made in accordance with Local Civil Rule 7(E)and Local Civil Rule

 37(E)for discovery motions. All motions must adhere to the page limits and font requirements

 set in Local Civil Rule 7(F)(3). An appropriate number of paper copies ofany motion and all

 pleadings relating to that motion shall be delivered directly to the attention of the judge at the

 Clerk's Office within one day ofthe electronic filing. See "Civil and Criminal Motions

 Procedures and other Alexandria Specific Information" on the Alexandria page ofthe Court's

 website located at www.vaed.uscourts.gov.

        (b)     All motions, except for summary judgment and consent motions, shall be noticed

 for a hearing on the earliest possible Friday before the final pretrial conference consistent with

 the briefing schedules discussed below. A consent motion should be filed in accordance with the
Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 3 of 12 PageID# 282




 procedures provided on the Alexandria page ofthe Court's website referenced above. Any

 motion to amend the pleadings or to join a party must be made as soon as possible after counsel

 or the party becomes aware ofthe grounds for the motion.

        (c)     Dispositive motions shall be filed and briefed in accordance with the schedule set

 forth in Local Civil Rule 7(F)(1) and (K). As of December 1,2016, Local Civil Rule 7(F)(1)

 provides that a response brief is due 14 days after service ofthe motion and a reply brief may be

 filed 6 days after the service ofthe response. The periods for filing a response brief and a reply

 shall apply without regard to the mode of service used for those briefs. Any dispositive motion

 against a pro se party must contain the notice set forth in Local Civil Rule 7(K)and provide the

 pro se party with at least 21 days to file a response opposing the motion.

        (d)     In order to provide for the prompt resolution of non-dispositive matters, a non-

 dispositive motion may be filed by no later than 5:00 p.m. on a Friday and noticed for a hearing

 at 10:00 a.m. on the following Friday. Under this expedited schedule, a response must be filed

 no later than 5:00 p.m. on the following Wednesday and any reply should be filed as early as

 possible on Thursday to give the Court time to review all pleadings before the hearing. At the

 moving party's discretion, a non-dispositive motion may also be filed and noticed for a hearing

 in accordance with the briefing schedule provided in Local Civil Rule 7(F)(1) discussed above in

 order to provide additional time for briefing and consideration by the Court.

        (e)     All summary judgment issues shall be presented in the same pleading unless leave

 of court is first obtained. As required by Local Civil Rule 56, each brief in support of a motion

 for summary judgment must include a separately captioned section within the brief listing, in

 numbered-paragraph form, each material fact that the movant contends is undisputed with

 appropriate citations to the record. A brief in opposition to a motion for summary judgment
Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 4 of 12 PageID# 283




 must include a separately captioned section within the brief addressing, in numbered-paragraph

 form corresponding to the movant's section, each of the movant's enumerated facts and

 indicating whether the non-movant admits or disputes the fact with appropriate citations to the

 record. The Court may assume that any fact identified by the movant as undisputed in the

 movant's brief that is not specifically controverted in the non-movant's brief in the manner set

 forth above is admitted for the purpose ofdeciding the motion for summary judgment.

        (f)     Any motion to file a document under seal must comply with Local Civil Rule 5.

 Pursuant to Local Civil Rule 5,a notice specifically identifying the motion as a sealing motion

 must be filed on the public record. There is no need to file a notice of hearing for a motion to

 seal. A memorandum must be filed stating sufficient facts to support the action sought, and a

 proposed order must include specific findings. Where a party moves to file material under seal

 because the opposing party has designated that material as confidential, the opposing party must

 file a response to the motion and a proposed order that meet the requirements of Local Civil Rule

 5. Only the particular material found to meet the required standard may be sealed, with the

 remainder filed in the public record. An unsealed, redacted version ofthe filing in issue shall be

 filed with the motion to seal. Filings under seal are disfavored and discouraged. See Va. Dep't

 of State Police v. Washington Post. 386 F.3d 567,575-76(4th Cir. 2004).

         11.    Disclosures imder Fed. R. Civ. P. 26(a)(1) and (2), notices of depositions,

 interrogatories, requests for documents and admissions, and answers thereto shall not be filed

 except on order of the Court, or for use in a motion or at trial.

         12.    In the event this case is tried before a jury, each party shall file their proposed jury

 instructions and voir dire five(5) business days prior to trial in accordance with Local Civil Rule

 51. Violation of this Rule will constitute a waiver of objections to any instructions given. In the



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Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 5 of 12 PageID# 284




 event the case is tried without a jury, counsel shall file written proposed findings of fact and

 conclusions of law prior to the beginning of trial.

        ENTERED this 14th day of November 2018.

                                                                        JM
                                                       Theresa Carroll Buchanan
                                                       United States Magistrate Judge


                                               THERESA CARROLL BUCHANAN
                                               UNITED STATES MAGISTRATE JUDGE


 Alexandria, Virginia
Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 6 of 12 PageID# 285
Case 1-18-CV-01320-LMB-TCB            Document 63        Filed in VAED on 11/07/2018         Page 1 of 7



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                        (Alexandria Division)



  ANISH KAPOOR,


                                       Plaintiff,

                        V.

                                                        Civil Action No. l:18-cv-1320(LMB/TCB)
  NATIONAL RIFLE ASSOCIATION OF
  AMERICA,


                                     Defendant.


                             JOINT PROPOSED DISCOVERY PLAN

         Pursuant to Fed. R. Civ. P. 26, Local Civil Rule 26, and this Court's Order of October 24,

  2018, plaintiff Anish Kapoor ("Kapoor") and defendant National Rifle Association of America

  ("NRA," together with Kapoor, the "Parties"), by counsel, state as follows for their Proposed

  Discovery Plan.

          1.     Rule 26(fl Conference: The Parties conducted their Rule 26(f) conference on

  November 2, 2018.

         2.      Fact Discovery:                                                              (/^          ^
                 (a)     Plaintiffs Position: Because "[d]iscovery may begin as of receipt of th[e

  Court's October 24,2018] Order"(ECF 44), Kapoor intends to commence discovery immediately.

  Kapoor understands that the NRA's primary defense is fair use, on which it bears the burden of

  proof. Although the NRA has indicated that it desires to stay (or limit significantly) discovery

  pending resolution of a motion for summary judgment that it would file, under an expedited

  briefing schedule, the issues identified by the NRA are factual in nature and will require discovery.


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Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 7 of 12 PageID# 286
Case 1-18-CV-01320-LMB-TCB            Document 63         Filed in VAED on 11/07/2018         Page 2 of 7



  Delaying discovery will only further delay the resolution of this litigation. Kapoor plans to fully

  address the NRA's (a) request for an expedited summary judgment briefing schedule, and (b)

  request to stay (or limit significantly) discovery pending resolution of the NRA's motion for

  summary judgment after the NRA moves the Court for such relief or upon the Court's request.


                 (b)     Defendant's Position: Case-dispositive fair use, de minimis use,

  transformati^^use, and First Amendment issues at the core of this case domot require discovery.
  The video at issue, w^h includes a brief image of Cloud Gate fix^the Bean"), and the political
  message the video conveys^peak for themselves and arexlot in dispute. Accordingly, the NRA

  proposes that the parties brief summair judgmerjt^ these core issues in the very near future on
  an expedited schedule set by the Court aJ^fflb^November 14, 2018 scheduling conference and that

  discovery be stayed (or significarjtly limited) pendirt^^ ruling by the Court on summary judgment
  as to these issues. The NRA believes that no amount of discovery will affect, or is even relevant

  to, the fair use, d&/minimis use, transformative use, and First AmeiWment analysis. Discovery is

  simply no^necessary to resolve this case based on those issues, and KapooH^s not and cannot
  arfiaulate what discovery would be material to these case dispositive issues.


                 (c)     If the Court agrees with Kapoor that discovery should proceed, all written

  fact discovery shall be served sufficiently in advance of March 15,2019, so that responses are due

  on or before that date, and any notices of deposition shall be served sufficiently in advance of that

  date so that discovery can be concluded by that date.


         3.      Initial Disclosures: If discovery proceeds, the Parties propose that initial

  disclosures be exchanged by November 16, 2018.
Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 8 of 12 PageID# 287
Case 1-18-CV-01320-LMB-TCB           Document 63       Filed In VAED on 11/07/2018         Page 3 of 7



         4.      Expert Disclosures: Pursuant to Local Civ. R. 26(D)(2), the Parties propose that,

  ifexpert discovery proceeds,expert disclosures shall be served according to the following schedule

  if discovery proceeds:

                           Kapoor's Disclosures         January 15,2019
                           NRA's Disclosures            February 15,2019
                           Rebuttal Disclosures         March 1,2019

         5.      Joinder ofParties: At this time,the Parties do not anticipate joinder of additional

  parties. However,should subsequent circumstances warrant it, the Parties agree to Join parties by

  December 12,2018.

         6.      Amendment of Pleadings: At this time, the Parties do not anticipate amendment

  of pleadings but reserve the right to move the Court for leave to amend should subsequent

  circumstances warrant it by December 12,2018.

         7.      Preservation of Discoverable Information:            The Parties understand the

  importance of preserving discoverable information.        The Parties believe they have taken

  reasonable steps to preserve all such information.

         8.      Electronicallv Stored Information: The parties agree to work in good faith to

  coordinate the form and manner of production of electronically stored information.

         9.      Claims of Privilege & Protection of Trial Material: The Parties agree that the

  party responding to discovery shall provide a privilege log for all responsive material for which a

  privilege is claimed. The log will set forth the bates number (if any) of the privileged document

  and identify(1)the date of its creation;(2)its author(s);(3)its recipient(s); and(4)a brief general

  description of the document along with the basis for the privilege assertion, in accordance with

  Fed. R. Civ. P. 26(b)(5)(A). No party will be required to put on the privilege log any
Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 9 of 12 PageID# 288
Case 1-18-CV-01320-LMB-TCB Document 63 Filed In VAED on 11/07/2018 Page 4 of 7



  communications between a party and its counsel made in relation to this litigation if such

  documents were generated on or after June 19, 2018.

          10.    Protective Order: In the event a protective order is deemed necessary, the Parties

  shall work together to agree on a form.

          11.    Non-Waiver of Attorney-Client Privilege and Work Product Protection: The

  Parties propose that pursuant to Fed. R. Evid. 502(d) and (e), the disclosure during discovery of

  any communication or information (hereinafter "Document") that is protected by the attorney-

  client privilege ("Privilege" or "Privileged," as the case may be) or work-product protection

  ("Protection" or "Protected," as the case may be), as defined by Fed. R. Evid. 502(g), shall not

  waive the Privilege or Protection in the above-captioned case, or any other federal or state

  proceeding, for either that Document or the subject matter of that Document, unless there is an

  intentional waiver ofthe Privilege or Protection to support an affirmative use ofthe Document in

  support of the party's claim or defense, in which event the scope of any such waiver shall be

  determined by Fed. R. Evid. 502(a)(2) and (3). The Parties intend that this proposed stipulated

  order shall displace the provisions of Fed. R. Evid. 502(b)(1) and (2). That is, all disclosures not

  made to support an affirmative use ofthe Document in support of a Party's claim or defense shall

  be regarded as "inadvertent," and the producing party is hereby deemed to have taken "reasonable

  steps to prevent disclosure," regardless of any argument or circumstances suggesting otherwise.

  Except when the requesting party contests the validity of the underlying claim of Privilege or

  Protection (including a challenge to the reasonableness ofthe timing or substance ofthe measures

  undertaken by the producing party to retrieve the Document(s) in question), any Document(s)the

  producing party claims as Privileged or Protected shall, upon written request, promptly be returned

  to the producing Party and/or destroyed, at the producing Party's option. If the underlying claim
Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 10 of 12 PageID# 289
Case 1-18-CV-01320-LMB-TCB                 Document 63   Filed in VAED on 11/07/2018         Page 5 of 7


   ofPrivilege or Protection is contested,the Parties shall comply with,and the requesting Party may
   promptly seek a judicial determination ofthe matter pursuant to. Fed. R. Civ. P. 26(b)(5)(B). In

   assessing the validity of any claim of Privilege or Protection, the Court shall not consider the

   provisions of Fed. R. Evid. 502(b)(1) and (2), but shall consider whether timely and otherwise

   reasonable steps were taken by the producing Party to request the return or destruction of the

   Document once the producing Party had actual knowledge of(i)the circumstances giving rise to

   the claim of Privilege or Protection and (ii) the production of the Document in question.

  "Destroyed" shall mean that the paper versions are shredded, that active electronic versions are

   deleted, and that no effort shall be made to recover versions that are not readily accessible, such

   as those on backup media or only recoverable through forensic means."Actual knowledge" refers

   to the actual knowledge of an attorney of record or other attorney with lead responsibilities in the

   litigation (for example, lead counsel, trial counsel, or a senior attorney with managerial

   responsibilities for the litigation).

           12.     Magistrate Judge: The Parties do not consent to trial before a magistrate judge at

  this time.


           13.     Settlement: The Parties do not believe that a settlement is likely at this time.

   However,the Parties are aware ofthe mediation resources provided by the presiding United States

   Magistrate Judge and will contact chambers should the opportunity or need for mediation arise.

           14.     Discovery Limitations: The Parties do not propose any additional discovery

  limitations not already provided by the Federal Rules of Civil Procedure, the Local Civil Rules,

  and this Court's October 24, 2018 Order.
Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 11 of 12 PageID# 290
Case 1-18-CV-01320-LMB-TCB Document 63 Filed in VAED on 11/07/2018 Page 6 of 7



  Dated: November 7,2018                   Respectfully Submitted,

  Is! Justin M. Ganderson                  Isl Anand V. Ramana (with permission)
  Justin M. Ganderson(VSB No. 71003)       Anand V. Ramana(VSB No.65852)
  CoviNGTON & Burling LLP                  Vedder Price,P.C.
  One CityCenter                           1401 1 Street, N.W.
  850 Tenth Street, NW                     Suite 1100
  Washington, DC 20001                     Washington, D.C. 20005
  Tel:(202)662-5422                        Tel:(202)312-3325
  Email:jganderson@cov.com                 E-mail: aramana@vedderprice.com

  David M.Given, Esq.(pro hac vice)        Attorneyfor National Rifle Association
  Matthew J. Feaver, Esq.(pro hac vice)    ofAmerica
  Nicholas A. Carlin, Esq.(pro hac vice)
  Phillips, Erlewine,Given & Carlin LLP
  The Presidio
  39 Mesa Street, Suite 201
  San Francisco, California 94129
  Tel:(415)398-0900
  Email: dmg@phillaw.com
  Email: mjf@phillaw.com
  Email: nac@phillaw.com

  Attorneysfor Anish Kapoor
Case 1:18-cv-01320-LMB-TCB Document 67 Filed 11/14/18 Page 12 of 12 PageID# 291
Case 1-18-CV-01320-LMB-TCB           Document 63      Filed in VAED on 11/07/2018        Page 7 of 7



                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 7, 2018, I electronically filed the foregoing with the

   Clerk ofCourt using the CM/ECF system, which will then send a notification ofsuch filing(NEF)

   to the following:

          Anand V. Ramana(VSB No.65852)
          VEDDER PRICE P.C.
          14011 Street, N.W.
          Suite 1100
          Washington, D.C. 20005
          Tel:(202)312-3325
          aramana@vedderprice.com

          Blaine C. Kimrey                           Bryan K. Clark
          VEDDER PRICE P.C.                          VEDDER PRICE P.C.
          222 N. LaSalle St.                         222 N. LaSalle St.
          Ste 2600                                   Ste 2600
          Chicago, IL 60601                          Chicago, IL 60601
          Tel:(312)609-7865                          Tel:(312)609-7810
          Fax:(312)609-5005                          Fax:(312)609-5005
          bkimrey@vedderprice.com                    bclark@vedderprice.com

          Attorneysfor National Rifle Association ofAmerica

          Jeffrey Scott Becker
          SWANSON MARTIN & BELL LLP
          330 N. Wabash Ave.
         Chicago,IL 60611
         Tel:(312)321-8425
         jbecker@smbtrials.com

          Attorneyfor Anish Kapoor

                                                     /s/ Justin M.Ganderson
                                                     Justin M. Ganderson(VSB No. 71003)
                                                     COVINGTON & BURLING LLP
                                                     One CityCenter
                                                     850 Tenth Street, NW
                                                     Washington, D.C. 20001-4956
                                                     Tel:(202)662-5422
                                                     Fax:(202)662-6291
                                                    jganderson@cov.com

                                                     Attorneyfor Anish Kapoor
